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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

CAROLYN MOSMAN,                          §
Plaintiff                                §
                                         §     CIVIL ACTION NO. 3:09-cv-01147-N
vs.                                      §
                                         §
FINANCIAL RECOVERY                       §
SERVICES, INC.,                          §
Defendant                                §


                   NOTICE OF DISMISSAL WITH PREJUDICE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        NOTICE IS HEREBY GIVEN that Plaintiff has filed with the Clerk of the

Northern District Court of Texas, Plaintiff’s Notice of Dismissal of Case With Prejudice,

a copy of which is herewith served upon Defendant.



                                               Respectfully submitted,


                                               By: /s/Susan Landgraf
                                               Susan Landgraf
                                               Texas State Bar # 00784702
                                               Attorney in Charge for Plaintiff

WEISBERG & MEYERS, L.L.C.
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                            CERTIFICATE OF SERVICE


I certify that on August 4, 2009, I electronically filed the foregoing document with the
clerk of the U.S. District Court, Northern District of Texas, Dallas Division, using the
electronic case filing system of the court.


                                                                 /s/ Susan A. Landgraf___
                                                                  SUSAN A. LANDGRAF
